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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                           ______________________

BETH M. VAN DYKE,                   )
                                    )
                  Plaintiff,        )           Case No. 1:18-cv-470
                                    )
v.                                  )           Honorable Robert J. Jonker
                                    )
GRAND RAPIDS                        )
COMMUNITY COLLEGE, et al.,          )
                                    )
                  Defendants.       )
____________________________________)

                       REPORT AND RECOMMENDATION

      This is a civil action brought pro se by plaintiff. The lawsuit stems from a

failing grade that plaintiff received in a fieldwork class in an occupational therapy

assistant program at Grand Rapids Community College (GRCC). Plaintiff named

GRCC and Spectrum Health as defendants. Plaintiff claims that defendants violated

her First, Fifth and Fourteenth Amendment rights. She also claims that defendants

violated Michigan law through negligence, libel, slander, and intentional infliction of

emotional distress. Plaintiff seeks an award of damages.

      Plaintiff was allowed to proceed in forma pauperis under 28 U.S.C. § 1915.

(ECF     No.5).       This action is subject to judicial screening under 28 U.S.C.

§ 1915(e)(2)(B), which provides that the court “shall dismiss” actions brought in form

pauperis “at any time if the court determines that . . . the action . . . fails to state a

claim on which relief may be granted.” For the reasons stated herein, I recommend

that the complaint be dismissed for lack of diversity jurisdiction and for failure to
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state a federal claim upon which relief can be granted. I recommend that the Court

decline to exercise supplemental jurisdiction over plaintiff’s purported state-law

claims.

                            Proposed Findings of Fact

      Plaintiff alleges that she was a student at Grand Rapids Community College

(GRCC) located in Grand Rapids, Michigan. In 2013, she began her studies in

GRCC’s occupational therapy assistant program. (ECF No. 1-1, PageID.6). The

program includes work in both the classroom and fieldwork.           (Id.).   Plaintiff’s

fieldwork took place at Spectrum Health’s Fuller Street Long Term Acute Care

Hospital. (ECF No. 1, PageID.1).

      On March 29, 2015, plaintiff sent an email to GRCC’s fieldwork coordinator

expressing concern that, in handling patients, she might suffer “back or other

musculo-skeletal related injury.” Plaintiff wrote: “risk of injury is not a chance that

I’m willing to take.” (ECF No. 1-1, PageID.27). Plaintiff received responses from the

fieldwork coordinator and others indicating that a risk of injury was inherent in the

occupational therapy field.    (ECF No. 1, PageID.2).      Specifically, the fieldwork

coordinator’s response indicated that transferring patients was “a part of OT in

nearly every setting,” and that it was “an essential function” if plaintiff planned to

work in the field. (ECF No. 1-1, PageID.24). “It is necessary that you meet the

expectations of your fieldwork educator for what a [certified occupational therapy

assistant] COTA would do in the setting to successfully complete the fieldwork

placement. If you do not engage by assisting appropriately in transfers you are



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putting your co-workers at risk of injury.” (Id.).

      On April 30, 2015, plaintiff failed her second fieldwork assignment. (ECF No.

1-1, PageID.6). She received low ethics scores. (ECF No. 1, PageID.2, ECF No. 1-1,

PageID.11). When GRCC’s field supervisor informed plaintiff of her C- final grade,

plaintiff expressed her intent to contact Spectrum Health’s OTA therapy

administrator. The field supervisor indicated that plaintiff was forbidden to contact

Spectrum administration, but plaintiff subsequently received a response from

GRCC’s provost that she could communicate with Spectrum Health’s employees.

(ECF No. 1, PageID.2; ECF No. 1-1 at PageID.10). Plaintiff pursued an appeal of her

letter grade and she asked if she could receive a grade of “incomplete” instead. (ECF

No. 1, PageID.2; ECF No. 1-1, PageID.25, 30).

      On May 15, 2015, plaintiff received a written notice from the program director

that she would not be permitted to retake fieldwork the following year. (ECF No. 1,

PageID.2; ECF No. 1-1, PageID.29). GRCC’s student handbook indicated that the

decision whether to allow a student to repeat a course when offered the next year was

reserved to the discretion of the program director. (ECF No. 1-1, PageID.15). On

March 3, 2016, plaintiff received a “final verdict” from GRCC that she would not be

able to re-take the fieldwork required to complete the occupational therapy program.

(ECF No. 1, PageID.2).

      Plaintiff states that she was dismissed from GRCC’s occupational therapy

assistant program. (ECF No. 1-1, PageID.35). She does not allege that she reapplied

to GRCC’s program or that she attempted to complete a similar program at any other



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college or university. Plaintiff has “long been ‘over’ the idea of ever becoming an

OTA.” (Id. at PageID.7).

         On April 26, 2018, plaintiff filed this lawsuit.

                                        Discussion

         “Federal courts are courts of limited jurisdiction and the law ‘presume[s] that

a cause lies outside this limited jurisdiction.’ “ Vander Boegh v. EnergySolutions, Inc.,

772 F.3d 1056, 1064 (6th Cir. 2014) (quoting Kokkonen v. Guardian Life Ins. Co. of

Am., 511 U.S. 375, 377 (1994)). “[T]he burden of establishing the contrary rests upon

the party asserting jurisdiction.” Vander Boegh, 772 F.3d at 1064. “ ‘Subject-matter

jurisdiction can never be waived or forfeited,’ and courts are obligated to consider sua

sponte whether they have such jurisdiction.” Id. (quoting Gonzalez v. Thaler, 565

U.S. 134, 141 (2012)).

I.       Diversity Jurisdiction

         Federal courts have original jurisdiction when there is diversity of citizenship

and the amount in controversy exceeds $75,000. 28 U.S.C. § 1332(a). Complete

diversity must exist between all plaintiffs and all defendants. See Strawbridge v.

Curtiss, 7 U.S. (3 Cranch) 267 (1806); Evanston Ins. Co. v. Housing Auth. of Somerset,

867 F.3d 653, 656 (6th Cir. 2017). Plaintiff addresses only the amount in controversy

(ECF No. 1, PageID.1) and ignores the complete diversity requirement. It is patent

that complete diversity is lacking. Plaintiff is a resident of Michigan. She provides

Grand Rapids Michigan addresses for both defendants (ECF No. 1, PageID.1) and she

makes no factual allegations that defendants are citizens of a State other than


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Michigan.

II.   Federal Question Jurisdiction

      Federal courts have original jurisdiction over civil actions “arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. This is often

referred to as “federal question” jurisdiction.       Section 1983 does not create

substantive rights but, rather, “provides a remedy for deprivations of rights secured

by the Constitution and laws of the United States[.]” Lugar v. Edmondson Oil Co.,

457 U.S. 922, 924 (1982). Section 1983 “merely provides ‘a method for vindicating

federal rights elsewhere conferred.’ ” Graham v. Connor, 490 U.S. 386, 394 (1989)

(quoting Baker v. McCollan, 443 U.S. 137, 144, n.3 (1979)). “To state a claim under

§ 1983, a plaintiff must allege the violation of a right secured by the Constitution and

laws of the United States, and must show that the alleged deprivation was committed

by a person acting under color of state law.” West v. Atkins, 487 U.S. 42, 48 (1988).

             A. Spectrum Health

      Plaintiff has not alleged facts indicating that defendant Spectrum Health acted

under color of state law. A private party’s actions constitute state action under

Section 1983 when its actions are “fairly attributable to the state.”         Lugar v.

Edmonson Oil Co., 457 U.S. at 937; United Pet Supply, Inc. v. City of Chattanooga,

768 F.3d 464, 478 (6th Cir. 2014). Plaintiff’s conclusory allegation that Spectrum

Health is “inextricably linked to GRCC in this civil action, as its Grand Rapids Fuller

Street Long Term Acute Care Hospital (LTACH) was the site partnering with GRCC,

where student’s/plaintiff’s fieldwork took place” (ECF No. 1 at PageID.1) does not



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suffice. See Warren v. Xlibris Corp., No. 1:11-cv-200, 2012 WL 266956, at *3 (W.D.

Mich. Jan. 6, 2012).

             B. GRCC

      It is assumed for analytical purposes that GRCC is a state actor. See Carver

v. Kalamazoo Valley Cmty. Coll., 1:14-cv-1070, 2014 WL 6073528, at *1 n.1 (W.D.

Mich. Nov. 13, 2014); Edwards v. Grand Rapids Cmty. Coll., No. 1:09-cv-1067, 2010

WL 5860415, at *4 (W.D. Mich. Dec. 21, 2010).

      Plaintiff invokes the First, Fifth, and Fourteenth Amendments. (ECF No. 1 at

PageID.1).   Her reliance on the Fifth Amendment is misplaced.             “[T]he Fifth

Amendment’s Due Process Clause circumscribes only the actions of the federal

government.” Scott v. Clay Cty., Tenn., 205 F.3d 867, 873 n. 8 (6th Cir. 2000); see also

Parker v. Burt, 595 F. App’x 595, 600 n.3 (6th Cir. 2015) (“[T]he Fourteenth

Amendment’s Due Process Clause restricts the activities of the states, whereas the

Fifth Amendment’s Due Process Clause restricts the actions of the federal

government.”).

      Plaintiff alleges that the GRCC’s field supervisor’s instruction not to contact

Spectrum Health after she received her final grade constituted a “gag order,” in

violation of her First Amendment rights under the Free Speech Clause. (ECF No. 1-

1 at PageID.10). This claim is likewise deficient. “[T]he First Amendment’s Free

Speech Clause [is] applicable to the States under the Due Process Clause of the

Fourteenth Amendment.” Packingham v. North Carolina, 137 S. Ct. 1730, 1733

(2017).



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      Plaintiff cannot base a claim against GRCC solely on the field supervisor’s

conduct because “respondeat superior is not available as a theory of recovery under

section 1983.” Doe v. Claiborne Cty., 103 F.3d 495, 507 (6th Cir. 1996) (citing Monell

v. New York Dep’t of Social Servs., 436 U.S. 658, 691 (1978)). “[T]he Sixth Circuit

holds that a community college may not be held responsible in a civil rights action

brought pursuant to 42 U.S.C. § 1983 on a respondeat superior theory, but that the

requirements of Monell for municipal liability must be satisfied.” Edwards v. Grand

Rapids Cmty. Coll., 2010 WL 5860415, at *4 (citing Chonich v. Wayne Cty. Cmty.

Coll., 874 F.2d 359, 366-67 (6th Cir.1989)). Accordingly, to state a claim under

Section 1983 against GRCC, plaintiff must allege facts showing both the existence of

an official custom or policy and “a direct causal link” between the policy and the

alleged constitutional violation. See Bickerstaff v. Lucarelli, 830 F.3d 388, 401-02

(6th Cir. 2016).

      Plaintiff has not identified any policy or custom of GRCC with regard to her

speech, and she has not alleged facts from which a GRCC policy could be inferred

from a field supervisor’s instruction because there is nothing to suggest that he had

final authority to establish GRCC policy. See Pembaur v. City of Cincinnati, 475 U.S.

469, 482-83 (1986); Hinton v. Mish, No. 16-2741, __ F. App’x __, 2018 WL 300437, at

*5 (6th Cir. Jan. 5, 2018) (Municipal liability attaches “ ‘only where the

decisionmaker possesses final authority to establish municipal policy with respect to

the action ordered.’ ”) (quoting Pembaur, 475 U.S. at 481). The provost advised

plaintiff that she could contact Spectrum Health employees.           (ECF No. 1-1,



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PageID.10).

      Plaintiff’s purported procedural and substantive due process claims fail as

well. Plaintiff did not have any protected liberty or property interest in retaking a

course. Further, even assuming that her grade was a liberty or property interest for

the purposes of protection under the Fourteenth Amendment, she received review

through the college’s appeal process. See Cooley v. Western Mich. Univ., No. 17-2245,

2018 WL 1839988, at *3 (6th Cir. Apr. 5, 2018) (citing Bd. of Curators of Univ. of Mo.

v. Horowitz, 435 U.S. 78, 82, 90 (1978)). Dismissals for academic cause “do not

necessitate a hearing before the school’s decisionmaking body.” Bd. of Curators of

Univ. of Mo., 435 U.S. at 87-90. “[A]cademic decisions by faculty members ‘are not

readily adapted to the procedural tools of judicial ... decisionmaking.’ ” Cooley, 2018

WL 1839988, at *3 (quoting Bd. of Curators of Univ. of Mo., 435 U.S. at 89-90).

      Plaintiff’s claims fare no better when characterized as substantive due process

claims. She claims that her substantive due process rights were violated because she

was never allowed to “meet with the deans and OTA faculty in ‘roundtable fashion’

during the final decision making process regarding retaking of fieldwork.” (ECF No.

1-1, PageID.10). “The interests protected by substantive due process are . . . much

narrower than those protected by procedural due process.” Bell v. Ohio State Univ.,

351 F.3d 240, 250-51 (6th Cir. 2003). Plaintiff did not have a substantive due process

right in retaking fieldwork or continuing her medical education. Id.; see Martinson

v. Regents of Univ. of Mich., 562 F. App’x 365, 375 (6th Cir. 2014).         Plaintiff’s

complaint fails allege any federal claim upon which relief can be granted.



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III.     Supplemental Jurisdiction

         As a general rule, in cases in which a federal court dismisses all federal claims,

it will decline to exercise supplemental jurisdiction over a plaintiff’s state-law claims.

See 28 U.S.C. § 1367(c)(3); Brown v. Cassens Transp. Co., 546 F.3d 347, 363 (6th Cir.

2008).     A district court has broad discretion in deciding whether to exercise

supplemental jurisdiction. See Habich v. City of Dearborn, 331 F.3d 524, 535 (6th

Cir. 2003) (“Supplemental jurisdiction is a doctrine of discretion, not of ... right.”).

“[T]here is a ‘strong presumption’ in favor of declining to exercise jurisdiction over

supplemental state-law claims after dismissing federal anchor claims[.]” Martinez v.

City of Cleveland, 700 F. App’x 521, 523 (6th Cir. 2017) (quoting Musson Theatrical,

Inc. v. Fed. Express Corp., 89 F.3d 1244, 1255 (6th Cir. 1996)). The presumption that

a dismissal of the “anchor” or “touchstone” claims precludes the exercise of

supplemental jurisdiction over any remaining claims can only be overcome in

“unusual circumstances.” Musson Theatrical, Inc., 89 F.3d at 1255. I find that this

case does not present the unusual circumstances necessary to overcome the general

rule and strong presumption against this Court’s exercise of supplemental

jurisdiction.

IV.      Section 1915(a)(3)

          The Court must also decide whether an appeal of this action would be in good

 faith within the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth,

 114 F.3d 601, 611 (6th Cir. 1997).          For the same reasons that I recommend




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 dismissal of the complaint, I recommend that, should the Court dismiss the action,

 it also find that there is no good-faith basis for an appeal.

                            Recommended Disposition

      For the foregoing reasons, I recommend that the complaint be dismissed for

failure to state a federal claim under 28 U.S.C. § 1915(e)(2)(B)(ii) and for lack of

subject matter jurisdiction under FED. R. CIV. P. 12(b)(1). I recommend that the Court

decline to exercise supplemental jurisdiction over plaintiff’s purported state-law

claims. I recommend that, should the Court dismiss the action, that it also certify

under 28 U.S.C. § 1915(a)(3) that there is no good-faith basis for an appeal.



Dated: May 14, 2018                      /s/ Phillip J. Green
                                         PHILLIP J. GREEN
                                         United States Magistrate Judge


                               NOTICE TO PARTIES
ANY OBJECTIONS to this Report and Recommendation must be filed and served
within fourteen days of service of this notice on you. 28 U.S.C. ' 636(b)(1)(C); FED. R.
CIV. P. 72(b). All objections and responses to objections are governed by W.D. MICH.
LCIVR 72.3(b). Failure to file timely and specific objections may constitute a waiver
of any further right of appeal. See Thomas v. Arn, 474 U.S. 140 (1985); Keeling v.
Warden, Lebanon Corr. Inst., 673 F.3d 452, 458 (6th Cir. 2012); United States v.
Branch, 537 F.3d 582, 587 (6th Cir. 2008). General objections do not suffice. See
McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006).




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